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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 UNITED STATES OF AMERICA

 -vs-                                                              Case No. 8:04-cr-348-T-24 TGW

 KEVIN McMAHON

 _______________________________/

                                               ORDER
        This cause comes before the Court on Defendant Kevin McMahon’s Motion to Change
 Venue. (Doc. No. 342). The Government opposes this motion. (Doc. No. 360).
        Defendant McMahon is named in Count One (RICO conspiracy) of a four-count
 indictment charging seven defendants with involvement in a RICO conspiracy and various
 Hobbs Act violations. In this motion, Defendant McMahon requests that the Court transfer
 Count One of the Superceding Indictment as to Defendant McMahon to the Eastern District of
 New York. Specifically, Defendant McMahon argues that his inclusion in the RICO count is
 due to his alleged role in two robberies that occurred in New York and New Jersey and that his
 ability to present a proper defense in this district is substantially impeded; therefore, he requests
 that this case be transferred pursuant to Federal Rule of Criminal Procedure 21(b). The Court
 rejects his argument.
        Federal Rule of Criminal Procedure 21(b) provides : “Upon the defendant's motion, the
 court may transfer the proceeding, or one or more counts, against that defendant to another
 district for the convenience of the parties and witnesses and in the interest of justice.” The
 burden is on the defendant to justify the transfer. U.S. v. Stickle, 355 F. Supp.2d 1317, 1321
 (S.D. Fla. 2004)(citation omitted). At the outset, the Court notes the Government’s argument
 that Defendant McMahon’s motion to transfer is untimely, since it comes five months after
 arraignment. See U.S. v. Kopituk, 690 F.2d 1289, 1321 n.29 (11th Cir. 1982); Cagnina v. U.S.,
 223 F.2d 149, 154 (5th Cir. 1955). However, the Court will address the substance of the motion.
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        Defendant McMahon contends that in evaluating this motion, the Court should consider
 the following factors referred to in Platt v. Minnesota Mining & Manufacturing Co., 376 U.S.
 240 (1964): the location of the defendants; the location of possible witnesses; the location of
 events likely to be at issue; the location of documents; potential disruption of a defendant's
 business; expenses to the parties; location of counsel; relative accessibility of the place of trial;
 the docket condition of each district involved, and any other special factors which might affect
 transfer. This Court notes at the outset that it does not appear that the Supreme Court in Platt
 was endorsing those factors as guidelines to be followed in evaluating a motion to transfer, as the
 appropriateness of those factors was not the issue in the Platt case. See id. at 772; see also U.S.
 v. Luk, 1994 WL 125221, at *3 (M.D. Fla. Feb. 11, 1994).
        However, even considering the Platt factors, the Court finds that the motion should be
 denied despite Defendant McMahon’s many arguments in support of his contention that the
 charge against him should be tried in the Eastern District of New York. The Court has
 considered his arguments and has found that Defendant McMahon has not met his burden under
 Rule 21(b). A criminal defendant does not have a right to be tried in his place of domicile. See
 Luk, 1994 WL 125221 at *3 (citation omitted). Additionally, two of the defendants charged in
 Count One (Catalano and Scaglione) live in Florida, and a substantial amount of the racketeering
 activity alleged in Count One occurred in the Middle District of Florida. The Government
 represents that numerous witnesses it intends to call at trial live in Florida and that all of the
 tangible evidence is located in the Middle District of Florida.
        Furthermore, if the Court were to allow the charge against Defendant McMahon to be
 tried in the Eastern District of New York, such would require a severance of the co-defendants
 and the charges in this case. The Court has already found that a severance of co-defendants and
 charges is not warranted in this case. There is a preference for joint trials of defendants who are
 indicted together, since joint trials promote efficiency and judicial economy. See Zafiro v. U.S.,
 506 U.S. 534, 537 (1993). Allowing the charge against Defendant McMahon to be tried in the


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 Eastern District of New York would result in the expense of separate trials and would not be in
 the interests of justice.
         Accordingly, it is ORDERED AND ADJUDGED that Defendant Kevin McMahon’s
 Motion to Change Venue (Doc. No. 342) is DENIED.

         DONE AND ORDERED at Tampa, Florida, this 30th day of January, 2006.




 Copies to: Counsel of Record




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